                      Case 20-32740 Document 1 Filed in TXSB on 05/22/20 Page 1 of 25

 Fill in this information to identify the case:

  United States Bankruptcy Court for the:

  Southern                   District of Texas
                                       (State)
  Case number (If known):                                     Chapter 11
                                                                                                                                    ❑ Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            02/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



 1. Debtor's name                            Unit Corporation

                                             N/A
 2. All other names debtor used
     in the last 8 years
     Include any assumed names,
     trade names, and doing business
     as names




 3. Debtor's federal Employer                    7 3_ 1 2 8               3    1 9 3
     Identification Number (EIN)



 4. Debtor's address                         Principal place of business                                   Mailing address, if different from principal place
                                                                                                           of business

                                             8200 South Unit Drive
                                             Number          Street                                        Number      Street


                                                                                                           P.O. Box

                                             Tulsa                            OK         74132
                                             City                              State     ZIP Code          City                        State       ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                             Tulsa
                                             County
                                                                                                           Number      Street




                                                                                                           City                        State       ZIP Code




 5. Debtor's website        (URL)            http://www.unitcorp.com/




Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 1
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Debtor        Unit Corporation                                                               Case number (if known)
             Name




 6. Type of debtor
                                      a Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      U Partnership (excluding LLP)
                                      U Other. Specify:


                                      A. Check one:
 7. Describe debtor's business
                                      U Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         an iyie Asset rteai Estate has de1iried in 11 U.S.C. g 101(51;3))
                                      U Railroad (as defined in 11 U.S.C. § 101(44))
                                      U Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                      U Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                      U Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         None of the above


                                      B. Check all that apply:

                                      U Tax-exempt entity (as described in 26 U.S.C. § 501)
                                      U Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                        § 80a-3)
                                      U Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.qov/four-digit-national-association-naics-codes .
                                          2    1      1       1

 8. Under which chapter of the        Check one:
    Bankruptcy Code is the
    debtor filing?                    U Chapter 7
                                      U Chapter 9
                                      a Chapter 11. Check all that apply:
                                                           U Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                             4/01/22 and every 3 years after that).
                                                           U The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                           UThe debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                             chooses to proceed under Subchapter V of Chapter 11.

                                                           U A plan is being filed with this petition.

                                                           U Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           a The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           U The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                      U Chapter 12

 9. Were prior bankruptcy cases       a No
    filed by or against the debtor
    within the last 8 years?          U Yes. District                                   When                          Case number
                                                                                               MM / DD / YYYY
     If more than 2 cases, attach a
     separate list.                             District                                When                          Case number
                                                                                               MM / DD / YYYY


 Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 2
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Debtor        Unit Corporation                                                             Case number (if known)
              Name



 10. Are any bankruptcy cases          Li No
     pending or being filed by a
     business partner or an            a Yes.    Debtor See Rider 1                                                 Relationship    Affiliate
     affiliate of the debtor?                    District Southern District of Texas                                When
     List all cases. If more than 1,                                                                                               MM / DD       / YYYY
     attach a separate list.                     Case number, if known


 11. Why im the race fi!e,1 in this    rh.nk     th.Qt .pply:
     district?
                                       U Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                         district.

                                           A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have       O No.
     possession of any real
                                       U Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     property or personal property
     that needs immediate                       Why does the property need immediate attention? (Check all that apply.)
     attention?
                                                U It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard?

                                                U It needs to be physically secured or protected from the weather.

                                                U It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                  attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                  assets or other options).

                                                U Other



                                                Where is the property?
                                                                           Number          Street



                                                                           City                                                    State ZIP Code


                                                Is the property insured?
                                                LI No
                                                U Yes. Insurance agency

                                                         Contact name

                                                         Phone



             Statistical and administrative information



 13. Debtor's estimation of            Check one:
     available funds                   •   Funds will be available for distribution to unsecured creditors.
                                       U After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                       U 149                             U 1,000-5,000                                  U 25,001-50,000
 14. Estimated number of
                                       U 50-99                           U 5,001-10,000                                 U 50,001-100,000
     creditors
                                       U 100-199                         U 10,001-25,000                                U More than 100,000
                                         200-999


 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 3
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Debtor       Unit Corporation                                                                   Case number (if known)
            Name


                                         ❑   $0-$50,000                      ❑ $1,000,001-$10 million                     ❑    $500,000,001-$1 billion
 15. Estimated assets
                                         ❑   $50,001-$100,000                  $10,000,001-$50 million                    ❑    $1,000,000,001-$10 billion
                                         ❑   $100,001-$500,000               ❑ $50,000,001-$100 million                   ❑    $10,000,000,001-$50 billion
                                         ❑   $500,001-$1 million             ❑ $100,000,001-$500 million                  U    More than $50 billion


                                         ❑ $0-$50,000                       ❑    $1,000,001-$10 million                   •    $500,000,001-$1 billion
 is. Estimated liabilities
                                         ❑ $50,001-$100,000                 ❑    $10,000,001-$50 million                  ❑    $1,000,000,001-$10 billion
                                         rl $100,001-$500,000               El   $50,000,001 $100 ""                      El   $10,000000001450 billion
                                         ❑ $500,00141 million               ❑    $100,000,001-$500 million                U    More than $50 billion



            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor

                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                             Executed on     05/22/2020
                                                            MM / DD / YYYY

                                         X s/ Mark E. Schell                                                Mark E. Schell
                                             Signature of authorized representative of debtor              Printed name

                                             Title   Senior Vice President, Secretary, and General Counsel



 is. Signature of attorney                                                                                               05/22/2020
                                         X s/ Harry Perrin                                                 Date
                                             Signature of attorney for debtor                                            MM     / DD / YYYY


                                             Harry Perrin
                                             Printed name
                                             Vinson & Elkins LLP
                                             Firm name
                                             1001 Fannin St
                                             Number         Street
                                             Houston                                                          TX                 77002
                                             City                                                               State            ZIP Code

                                             (713) 758-2548                                                       hperrin@velaw.com
                                             Contact phone                                                      Email address


                                             15796800                                                            TX
                                             Bar number                                                         State




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                      page 4
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Official Form 20IA (12/15)


                               IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION
   In re:                                                                          Case No. 20-I

   UNIT CORPORATION,                                                               (Chapter 11)

                                                                                   (Joint Administration Requested)
             Debtor.
      ATTACHMENT TO VOLUNTARY PETITION FOR NON-INDIVIDUALS FILING FOR
                      BANKRUPTCY UNDER CHAPTER 11

       I. If any of the debtor's securities are registered under Section 12 of the Securities Exchange Act of 1934,
the SEC file number is 1-9260

       2. The following financial data is the latest available information and refers to the debtor's condition on
 12/31/2019

          a. Total assets                                                               $   2,090,052,000.00


          b. Total debts (including debts listed in 2.c., below)                        $   1 034,417 000 00


          c. Debt securities held by more than 500 holders                                                            Approximate
                                                                                                                      number of
                                                                                                                      holders:
          secured    ❑   unsecured            subordinated       N      $ 650,000,000.00                               Unknown
          secured    ❑   unsecured    ❑       subordinated       ❑      $
          secured    ❑   unsecured    ❑       subordinated       ❑      $
          secured    ❑   unsecured    ❑       subordinated       ❑      $
          secured    ❑   unsecured    ❑       subordinated       ❑      $


          d. Number of shares of preferred stock                                                                                        0
          e. Number of shares common stock                                                                                      54,625,240


        Comments, if any: Total assets and total debts are based on Debtor Unit Corporation's Form 10-K
 filed March 16, 2020. The number of shares of common stock is as of the Petition Date.


      3. Brief description of debtor's business: The debtor is a diversified publicly traded energy company
engaged in the exploration, acquisition, development, and production of oil and natural gas properties.


       4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote,
5% or more of the voting securities of debtor:
Black Rock, Inc.; FMR LLC; The Vanguard Group; Dimensional Fund Advisors LP; Victory Capital Management Inc.




Official Form 201A                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
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                                Rider 1

Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

                         8200 Unit Drive, L.L.C.
                             Unit Corporation
                     Unit Drilling Colombia, L.L.C.
                         Unit Drilling Company
                   Unit Drilling USA Colombia, L.L.C.
                        Unit Petroleum Company




                                 Rider 1
                            Case 20-32740 Document 1 Filed in TXSB on 05/22/20 Page 7 of 25


        Fill in this information to identif the case:

        Debtor Name: Unit Corporation, et a/.

        United States Bankruptcy Court for the: Southern District of Texas                                         Check if this is an amended filing

        Case number (if known):




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders                                  12/15

    A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
    debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
    include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
    among the holders of the 50 largest unsecured claims.

         Name of creditor and              Name, telephone number and            Nature of        Indicate if                  Amount of claim
       complete mailing address,            email address of creditor              claim           claim is      If the claim is fully unsecured, fill in
                                                                              (for example                      only unsecured claim amount. If claim
          including zip code                         contact                               ,     contingent,
                                                                               trade debts,                      is partially secured, fill in total claim
                                                                                                unliquidated,
                                                                               bank loans,                        amount and deduction for value of
                                                                                                 or disputed
                                                                               professional                          collateral or setoff to calculate
                                                                              services, and                                 unsecured claim.
                                                                               government
                                                                                                                 Total         Deduction         Unsecured
                                                                                contracts)
                                                                                                                claim, if      for value of        claim
                                                                                                                partially       collateral
                                                                                                                secured          or setoff
1   WILMINGTON TRUST, NATIONAL            WILMINGTON TRUST, NATIONAL
    ASSOCIATION                           ASSOCIATION
                                                                                                                                              $650,000,000 plus
    EMILIA GAZZUALA                       EMILIA GAZZUALA
                                                                                                                                                 accrued and
    50 SOUTH SIXTH STREET                 PHONE: 612-217-5624                 Unsecured Notes    Unliquidated
                                                                                                                                                unpaid interest
    SUITE 1290                            FAX: 612-217-5651
                                                                                                                                                   and fees
    MINNEAPOLIS, MN 55402                 EMAIL:
                                          EGAZZUOLO@WilmingtonTrust.com
2   NORTHERN ENERGY SERVICES LLC          NORTHERN ENERGY SERVICES LLC
    MONICA TRACY                          MONICA TRACY
    6531 HIGHWAY 40                       PHONE: 701-664-4000                      Trade                                                        $1,089,769.64
    TIOGA, ND 58852                       FAX: 701-664-4002
                                          EMAiL: ofcmgr@nes-nd.com

3     RUZ ENERGY SERVICES LLC             CRUZ ENERGY SERVICES LLC
     MEGAN DAVIS                          MEGAN DAVIS
     10944 27 D STREET SW                 PHONE: 701-483-3016                      Trade                                                         $699,388.38
     DICKINSON, ND 58601                  FAX: 701-483-3018
                                          EMAIL: megan.davis@cruzenergy.com

4     SI COMPRESSCO LP                    CSI COMPRESSCO LP
      OLTEN JOHNSON                       COLTEN JOHNSON
      49551-45 NORTH                      PHONE: 1-281-364-2244
                                                                                   Trade                                                         $353,006.19
      HE WOODLANDS, TX 77380              FAX: 281-364-4346
                                          EMAIL: CJohnson2@tetratec.com or
                                          AccountsReceivable@tetratec.com
5     VEDA TRANSPORTATION/LOGISTICS       AVEDA TRANSPORTATION/LOGISTICS
     IMELDA TAGAMA                        IMELDA TAGAMA
      319 SOUTH COUNTY ROAD 1270          PHONE: 832-917-4950                      Trade                                                         $349,787.83
     MIDLAND, TX 79706                    FAX: 832-917-4951
                                          EMAIL: ar@avedaenergy.com




Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                        page 1
                           Case 20-32740 Document 1 Filed in TXSB on 05/22/20 Page 8 of 25
Debtor          Unit Corporation, et al.                                                       Case number (if known)
                    Name


         Name of creditor and          Name, telephone number and               Nature of       Indicate if                  Amount of claim
       complete mailing address,        email address of creditor                 claim          claim is      If the claim is fully unsecured, fill in
                                                                             (for example                     only unsecured claim amount. If claim
          including zip code                     contact                                  ,    contingent,
                                                                              trade debts,                     is partially secured, fill in total claim
                                                                                              unliquidated,
                                                                              bank loans,                       amount and deduction for value of
                                                                                               or disputed
                                                                              professional                         collateral or setoff to calculate
                                                                             services, and                                unsecured claim.
                                                                              government
                                                                                                               Total         Deduction         Unsecured
                                                                               contracts)
                                                                                                              claim, if      for value of        claim
                                                                                                              partially       collateral
                                                                                                              secured          or setoff
6    -W POWER COMPANY                  -W POWER COMPANY
     KATE HOWELL                      KATE HOWELL
      607 E JUAN LINN                 PHONE: 800-475-1982                        Trade                                                         $347,943.01
      ICTORIA, TX 77901               FAX: 361-576-3922
                                      EMAIL: KHowell@jwenergy.com

7    HORN EQUIPMENT COMPANY           HORN EQUIPMENT COMPANY
     KELLY JONES                      KELLY JONES
     131 N SUNNYLAND RD               PHONE: 405-793-9101                        Trade                                                         $228,019.15
     MOORE, OK 73160                  FAX: 405-799-8735
                                      EMAIL: kellyjones@hornequipment.com

8    ROCKWATER ENERGY SOLUTIONS LLC   ROCKWATER ENERGY SOLUTIONS LLC
     RACHEL CHISUM                    RACHEL CHISUM
      102 RTE 66                      PHONE: 580-470-9819
                                                                                 Trade                                                         $219,038.18
     EL RENO, OK 73036                FAX:
                                      EMAIL:
                                      FCarmona@selectenergyservices.com
9     ANRIG DRILLING TECHNOLOGY LTD   CANRIG DRILLING TECHNOLOGY LTD
      INDY MASON                      CINDY MASON
     14703 FM 1488                    PHONE: 281-874-0035                        Trade                                                         $218,443.36
     MAGNOLIA, TX 77354               FAX:
                                      EMAIL: cindy.mason@canrig.com

10     HEMTECH TECHNOLOGIES LLC       CHEMTECH TECHNOLOGIES LLC
     MONICA JUDICE                    MONICA JUDICE
     , 00 SONNIER RD                  PHONE: 337-565-4205                        Trade                                                         $212,380.59
       ARENCRO, LA 70520              FAX:
                                      EMAIL: sales@cttllc.com

11 USA COMPRESSION PARTNERS LLC       USA COMPRESSION PARTNERS LLC
   BRAD CRADALL                       BRAD CRADALL
   111 CONGRESS AVE                   PHONE: 512-473-2662
                                                                                 Tracli=                                                       SigG,GG0. 7
   SUITE 2400                         FAX: 512-320-0706
   AUSTIN, TX 78701                   EMAIL: AR@USACompression.com or
                                      BCrandall@usacompression.com
12 EXCEL PRODUCTS                     EXCEL PRODUCTS
   NIKOLE LANGSTON                    NIKOLE LANGSTON
   13 FLAG ACRES ST                   PHONE: 580-216-0784                        Trade                                                         $185,208.85
   WOODWOOD, OK 73801                 FAX: 580-254-3378
                                      EMAIL: accounts@excelproductsusa.net

13 ARCHROCK PARTNERS LP               ARCHROCK PARTNERS LP
   KIM GREEN                          KIM GREEN
   9807 KATY FREEWAY                  PHONE: 281-836-8000                        Trade                                                         $182,405.79
   SUITE 100                          FAX:
   HOUSTON, TX 77024                  EMAIL: Kim.Greene@Archrock.com

14 PIONEER WELL SERVICES              PIONEER WELL SERVICES
   LISA CARDENAS                      LISA CARDENAS
   1250 NE LOOP 410                   PHONE: 210-828-7689                        Trade                                                         $175,979.16
   SUITE 1000                         FAX: 903-538-2251
   SAN ANTONIO, TX 78209              EMAIL: Icardenas@pioneeres.com

15 COMPLETE ENERGY SERVICES INC       COMPLETE ENERGY SERVICES INC
   JACKIE LONG                        JACKIE LONG
   4727 GAILLARDIA PARKWAY            PHONE: 405-748-2200
                                                                                 Trade                                                         $175,906.03
   SUITE 250                          FAX:
   OKLAHOMA CITY, OK 73142            EMAIL:
                                      jackie.long@completeenergy.com



Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims
                            Case 20-32740 Document 1 Filed in TXSB on 05/22/20 Page 9 of 25
Debtor          Unit Corporation, et al.                                                        Case number (if known)
                    Name


        Name of creditor and             Name, telephone number and               Nature of      Indicate if                  Amount of claim
      complete mailing address,           email address of creditor                 claim         claim is      If the claim is fully unsecured, fill in
                                                                               (for example,                   only unsecured claim amount. If claim
         including zip code                        contact                                      contingent,
                                                                                trade debts,                    is partially secured, fill in total claim
                                                                                               unliquidated,
                                                                                bank loans,                      amount and deduction for value of
                                                                                                or disputed
                                                                                professional                        collateral or setoff to calculate
                                                                               services, and                               unsecured claim.
                                                                                government
                                                                                                                Total         Deduction         Unsecured
                                                                                 contracts)
                                                                                                               claim, if      for value of        claim
                                                                                                               partially       collateral
                                                                                                               secured          or setoff
16 S & J WELL SERVICE INC                & J WELL SERVICE INC
   DENISE DAVIS                         DENISE DAVIS
   901 NORTHWESTERN STREET              PHONE: 806-435-0379                        Trade                                                        $171,396.24
   PERRYTON, TX 79070                   FAX: 806-435-3120
                                        EMAIL: ddavis@cowanhooten.com

17 STREAMLINE WELL TESTING RENTAL        TREAMLINE WELL TESTING RENTAL
   AMANDA PETERS                         MANDA PETERS
   13604 HWY 69                         PHONE: 409-834-6096                        Trade                                                        $170,850.63
   KOUNTZE, TX 77663                    FAX:
                                        EMAIL: aastreamline@aol.com

18 PREMIER PIPE LLC                     PREMIER PIPE LLC
   KURT LAURIER                         KURT LAURIER
   15600 JFK BLVD                       PHONE: 832-300-8100                        Trade                                                        $169,076.38
   SUITE 200                            FAX:
   HOUSTON, TX 77032                    EMAIL: klaurier@prempipe.com

19 MORGAN WELL SERVICE INC              MORGAN WELL SERVICE INC
   DOTTIE MORGAN                        DOTTIE MORGAN
   907 W 1ST STREET                     PHONE: 405-567-2288
                                                                                   Trade                                                        $161,682.83
   PRAGUE, OK 74864                     FAX:
                                        EMAIL:
                                        dotmorgan@morganwellservice.com
20 FRONTIER TUBULAR SOLUTIONS           FRONTIER TUBULAR SOLUTIONS
   H. POOLE                             H. POOLE
   1300 SOUTH MERIDIAN                  PHONE: 405-330-5900                        Trade                                                        $152,277.90
   STE 501                              FAX: 405-330-5959
   OKLAHOMA CITY, OK 73108              EMAIL: hpoole@frontiertubular.com

21 TOOLPUSHERS SUPPLY CO                 OOLPUSHERS SUPPLY CO
   SINDY VALLE                           INDY VALLE
   13231 CHAMPIAN FOREST DR             PHONE: 307-266-0324                        Tr rip                                                       $150,813,8
   SUITE 310                            FAX: 307-224-5224
   HOUSTON, TX 77069                    EMAIL: sindy.valle@truecos.com

22 DH DOZER LLC                         DH DOZER LLC
   LISA COX                             LISA COX
   2285 COUNTY STREET 2880              PHONE: 405-550-9374                        Trade                                                        $147,283.65
   CHICKASHA, OK 73018-8090             FAX: 405-354-5211
                                        EMAIL: dhdozersllc@gmail.com

23 L & 0 PUMP & SUPPLY INC              L & 0 PUMP & SUPPLY INC
   TAMBRA GIFFORD                       TAM BRA GIFFORD
   6813 CAMILLE AVE                     PHONE: 405-616-3737                        Trade                                                        $144,755.38
   OKLAHOMA CITY, OK 73149              FAX: 405-616-1950
                                        EMAIL: tgifford@lopump.com

24 IHS GLOBAL INC                       IHS GLOBAL INC
   JOHN CARPINELLA                      JOHN CARPINELLA
   15 INVERNESS WAY EAST                PHONE: 212-931-4900                        Trade                                                        $140,100.64
   ENGLEWOOD, CO 80112-5710             FAX:
                                        EMAIL: John.carpinelli@ihsmarkit.com

25 4KBC TRUCKING LLC                    4KBC TRUCKING LLC
   JAMES CHANDLER                       JAMES CHANDLER
   204 N MAIN ST                        PHONE: 936-336-4026                        Trade                                                        $139,158.96
   LIBERTY, TX 77575-3804               FAX: 936-253-7056
                                        EMAIL: 4kbctrucking@gmail.com




Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims
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Debtor            Unit Corporation, et al.                                                           Case number (if known)
                    Name


          Name of creditor and               Name, telephone number and               Nature of       Indicate if                  Amount of claim
        complete mailing address,             email address of creditor                 claim          claim is      If the claim is fully unsecured, fill in
                                                                                   (for example                     only unsecured claim amount. If claim
           including zip code                          contact                                  ,    contingent,
                                                                                    trade debts,                     is partially secured, fill in total claim
                                                                                                    unliquidated,
                                                                                    bank loans,                       amount and deduction for value of
                                                                                                     or disputed
                                                                                    professional                         collateral or setoff to calculate
                                                                                   services, and                                unsecured claim.
                                                                                    government
                                                                                                                     Total         Deduction         Unsecured
                                                                                     contracts)
                                                                                                                    claim, if      for value of        claim
                                                                                                                    partially       collateral
                                                                                                                    secured          or setoff
26 HALLIBURTON ENERGY SERVICE               HALLIBURTON ENERGY SERVICE
   MARC PACE                                MARC PACE
   3000 N SAM HOUSTON PKWY E.               PHONE: 1-281-871-4000                      Trade                                                         $127,071.97
   HOUSTON, TX 77032                        FAX: 281-876-4455
                                            EMAIL: mark.pace@halliburton.com

27 OIL STATES ENERGY SERVICES LLC           OIL STATES ENERGY SERVICES LLC
   MICKIE MAY                               MICKIE MAY
   101 HWY 31 WEST                          PHONE: 903-984-8341                        Trade                                                         $118,653.02
   KILGORE, TX 75062                        FAX:
                                            EMAIL: MICKIE.MAY@OILSTATES.COM

28 SIGNA ENGINEERING CORP                    IGNA ENGINEERING CORP
   N HARRIS                                 N HARRIS
   16945 NORTHCHASE DR SUITE 2200           PHONE: 281-774-1000                        Trade                                                         $112,184.33
   HOUSTON, TX 77060                        FAX: 281-774-1098
                                            EMAIL: nharris@signa.net

29 NATURAL GAS COMPRESSION                  NATURAL GAS COMPRESSION
   Y UNCKER                                  UNCKER
   2480 AERO PARK DR                        PHONE: 231-941-0107                        Trade                                                         $103,153.33
   TRAVERSE CITY, MI 49686                  FAX: 231-941-0177
                                            EMAIL: Yuncker@ngcsi.com

30 QES PRESSURE CONTROL LLC                 QES PRESSURE CONTROL LLC
   SHAMESHA LAWRENCE                         HAMESHA LAWRENCE
   1415 LOUISIANA                           PHONE: 832-518-4094                        Trade                                                         $100,389.92
   SUITE 2900                               FAX: 405-702-6457
   HOUSTON, TX 77002                        EMAIL: shamesha.lawrence@qesinc.com
I-,
W




      CANYON OIL FIELD SERVICES             CANYON OIL FIELD SERVICES
      WANDA MCCLELLAN                         ANDA MCCLELLAN
      11552 S HWY 6                         PHONE: 580-225-7100                        Trade                                                          $99,815.74
      ELK CITY, Of. 73644                   FAX- ;80-T2S-7107
                                            EMAIL: wanda@canyonoilfield.com

32     DSCADA LP                            ZDSCADA LP
      BRIAN FOWLER                          BRIAN FOWLER
      1918 SYBIL LANE                       PHONE: 903-526-1100                        Trade                                                          $99,594.67
       YLER, TX 75703                       FAX:
                                            EMAIL: invoices@zdscada.com

33 PASON SYSTEMS USA CORP                   PASON SYSTEMS USA CORP
      LAURA BALDWIN                         LAURA BALDWIN
       701 WEST LITTLE YORK, SUITE 8020     PHONE: 403-301-3400                        Trade                                                          $97,282.87
      HOUSTON, TX 77040                     FAX: 403-301-3499
                                            EMAIL: laurie.baldwin@pason.com

34 FRONTIER WELL SERVICE INC                FRONTIER WELL SERVICE INC
   PATRICK SMITH                            PATRICK SMITH
   1025 E. VANDAMENT AVE                    PHONE: 405-373-3388                        Trade                                                          $93,425.05
    UKON, OK 73099                          FAX:
                                            EMAIL: frontierwellservice@gmail.com

35 OURNEY OILFIELD EQUIPMENT LLC            JOURNEY OILFIELD EQUIPMENT LLC
        WEBER                               C WEBER
       976 HIGHWAY 15                       PHONE: 580-256-8822                        Trade                                                          $92,232.46
       976 HIGHWAY 15                       FAX:
        OODWARD, OK 73801                   EMAIL: cweber@jouneyoilfield.net




Official Form 204                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims
                               Case 20-32740 Document 1 Filed in TXSB on 05/22/20 Page 11 of 25
Debtor           Unit Corporation, et al.                                                       Case number (if known)
                    Name


          Name of creditor and             Name, telephone number and            Nature of       Indicate if                  Amount of claim
        complete mailing address,           email address of creditor              claim          claim is      If the claim is fully unsecured, fill in
                                                                              (for example                     only unsecured claim amount. If claim
           including zip code                        contact                               ,    contingent,
                                                                               trade debts,                     is partially secured, fill in total claim
                                                                                               unliquidated,
                                                                               bank loans,                       amount and deduction for value of
                                                                                                or disputed
                                                                               professional                         collateral or setoff to calculate
                                                                              services, and                                unsecured claim.
                                                                               government
                                                                                                                Total         Deduction         Unsecured
                                                                                contracts)
                                                                                                               claim, if      for value of        claim
                                                                                                               partially       collateral
                                                                                                               secured          or setoff
36 PREMIUM OILFIELD TECHNOLOGIES          PREMIUM OILFIELD TECHNOLOGIES
     ERICA THOMPSON                       ERICA THOMPSON
     5727 BRITTMOORE RD                   PHONE: 281-679-6500                     Trade                                                          $88,499.67
     HOUSTON, TX 77041                    FAX: 281-670-5229
                                          EMAIL: sales@premiumoilfield.com

37 BRADY'S WELDING & MACHINE SHOP         BRADY'S WELDING & MACHINE SHOP
   CINDY MORGAN                           CINDY MORGAN
   11991 HWY 76                           PHONE: 580-229-1168                     Trade                                                          $87,893.33
   HEALDTON, OK 73438                     FAX: 580-229-1177
                                          EMAIL: cindy@bradywelding.com

38 KINDER MORGAN TREATING LP              KINDER MORGAN TREATING LP
   JAMI LAMBRECHT                          AMI LAMBRECHT
   1001 LOUISIANA ST.                     PHONE: 713-369-9000
                                                                                  Trade                                                          $84,915.34
   SUITE 1000                             FAX:
   HOUSTON, TX 77002                      EMAIL:
                                           ami_Lambrecht@kindermorgan.com
39 TRI-COUNTY ELECTRIC INC                 RI-COUNTY ELECTRIC INC
   REPRESENTATIVE                         REPRESENTATIVE
   995 MILE 46 ROAD                       PHONE: 580-652-2418                     Trade                                                          $83,181.87
   HOOKER, TX 73945                       FAX: 580-652-3151
                                          EMAIL: info@tcec.coop

40 DNOW LP                                DNOW LP
   BETTY BAXTER                           BETTY BAXTER
   2203 SECOND AVE WEST                   PHONE: 701-572-3781                     Trade                                                          $81,167.63
   WILLISTON, ND 58801                    FAX:
                                          EMAIL: betty.baxter@dnow.com

41 PUREFLOW TECHNOLOGIES INC              PUREFLOW TECHNOLOGIES INC
   DEBBIE DURHAM                          DEBBIE DURHAM
   105 S INDUSTRIAL PARK DR               PHONE: 979-245-1700
                                                                                  Tr;,i1,-,                                                      SP'0,47,713
   BAY CITY, TX 77404-0088                FAX: 979-245-3343
                                          EMAIL: debbie@pureflow-
                                          technologies.com
42    RR ENTERPRISES INC                  ORR ENTERPRISES INC
     DIANA ORR                            DIANA ORR
     175699 OLD HWY 7                     PHONE: 580-251-9618                     Trade                                                          $79,851.83
     DUNCAN, OK 73533                     FAX: 580-255-3943
                                          EMAIL: diorr@cableone.net

43 TREAMLINE PRODUCTION SERVICES INC STREAMLINE PRODUCTION SERVICES INC
      MANDA PETERS                        AMANDA PETERS
     13604 HWY 69                         PHONE: 409-834-6096                     Trade                                                          $79,207.63
      ILLAGE MILLS, TX 77663              FAX: 409-834-6098
                                          EMAIL: aastreamline@aol.com

44    UNBELT RENTALS IND SRVCS LLC        SUNBELT RENTALS IND SRVCS LLC
      IONA THOMPSON                       TIONA THOMPSON
      03 HIGHWAY 90 W                     PHONE: 936-549-7800
                                                                                  Trade                                                          $77,417.99
     DEVERS, TX 77538-7142                FAX:
                                          EMAIL:
                                          Tiona.thompson@sunbeltrentals.com
45 DRILLING FLUIDS TECHNOLOGY INC         DRILLING FLUIDS TECHNOLOGY INC
      . RAGAN                             J. RAGAN
     11903 E079ORD                        PHONE: 405-375-6282                     Trade                                                          $76,399.32
     KINGFISHER, OK 73750                 FAX:
                                          EMAIL: jragan@dftonline.com




Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims
                             Case 20-32740 Document 1 Filed in TXSB on 05/22/20 Page 12 of 25
Debtor          Unit Corporation, et al.                                                        Case number (if known)
                    Name


        Name of creditor and             Name, telephone number and               Nature of      Indicate if                  Amount of claim
      complete mailing address,           email address of creditor                 claim         claim is      If the claim is fully unsecured, fill in
                                                                               (for example,                   only unsecured claim amount. If claim
         including zip code                        contact                                      contingent,
                                                                                trade debts,                    is partially secured, fill in total claim
                                                                                               unliquidated,
                                                                                bank loans,                      amount and deduction for value of
                                                                                                or disputed
                                                                                professional                        collateral or setoff to calculate
                                                                               services, and                               unsecured claim.
                                                                                government
                                                                                                                Total         Deduction         Unsecured
                                                                                 contracts)
                                                                                                               claim, if      for value of        claim
                                                                                                               partially       collateral
                                                                                                               secured          or setoff
46 DEALERS ELECTRICAL SUPPLY            DEALERS ELECTRICAL SUPPLY
   BEVERLY LOVE                         BEVERLY LOVE
   2320 S. COLUMBUS AVE.                PHONE: 254-717-1673                        Trade                                                         $74,248.70
   WACO, TX 76701                       FAX: 254-756-0133
                                        EMAIL: blove@dealerselectrical.com

47 RUSCO OPERATING LLC                  RUSCO OPERATING LLC
   JESSICA DOMINGUEZ                     ESSICA DOMINGUEZ
   98 SAN JACINTO BLVD. SUITE 550       PHONE: 713-553-6695                        Trade                                                         $72,778.83
   AUSTIN, TX 78701                     FAX:
                                        EMAIL: jessica@rigup.com

48 EAGLE AUTOMATION                     EAGLE AUTOMATION
   R SANDOVAL                           R SANDOVAL
   1600 STOUT ST SUITE 450              PHONE: 720-414-9925                        Trade                                                         $71,797.35
   DENVER, CO 80202                     FAX:
                                        EMAIL: rsandoval@eagleautomation.com

49 WELL MASTER CORPORATION                ELL MASTER CORPORATION
   KRYSTYNA CISENEROS                   KRYSTYNA CISENEROS
   16201 TABLE MOUNTAIN PARKWAY         PHONE: 303-980-0254
   SUITE 100                            FAX: 303-980-0355                          Trade                                                         $69,306.16
   GOLDEN, CO 80403                     EMAIL:
                                        Krystyna.Cisneros@wellmaster.com

50 BEARCAT WELL SERVICE INC             BEARCAT WELL SERVICE INC
   TONY JOHNSON                          ONY JOHNSON
   1020 EAST BRITTON ROAD               PHONE: 620-655-2635
                                                                                   Trade                                                         $68,702.67
   OKLAHOMA CITY, OK 73131              FAX: 580-778-3903
                                        EMAIL: tjohnson@bearcatland.com




Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims
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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE SOUTHERN DISTRICT OF TEXAS
                                              HOUSTON DIVISION

    In re:                                                             Case No. 20-[        ]

    UNIT CORPORATION,                                                  (Chapter 11)

                                                                       (Joint Administration Requested)
              Debtor.
                                     LIST OF EQUITY SECURITY HOLDERS1

Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following identifies all known holders
having a direct or indirect ownership interest of the above captioned debtor in possession:

             Name and Last Known Address or Place of Business          Kind/Class of              Percentage of
                                Holder                               Ownership Interest         Ownership Interest
                                                                                                      Held'

             Cede & Co.                                               Common Stock                   95.27%
             55 Water Street
             New York, NY 10041
             Black Rock, Inc.                                         Common Stock                   14.28%
             55 East 52nd Street
             New York, NY 10055
             FMR LLC                                                  Common Stock                   1 1.71%
             245 Summer Street
             Boston, MA 02210
             The Vanguard Group                                       Common Stock                   10.32%
             100 Vanguard Blvd.
             Malvern, PA 19355
             Dimensional Fund Advisors LP                             Common Stock                    8.15%
             6300 Bee Cave Road, Building One
             Austin, TX 78746
             Victory Capital Management Inc.                          Common Stock                    5.85%
             4900 Tiedeman Rd. 4th Floor
             Brooklyn, OH 44144




     This list reflects holders of five percent or more of the Debtor's common stock based on the Debtor's form 10-K filed on March
     16, 2020. This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal Rules of
     Bankruptcy Procedure. By the Emergency Motion (I) Authorizing the Debtors to (A) File a Consolidated List of Creditors; (B)
     File a Consolidated List of 50 Largest Unsecured Creditors; and (C) Redact Certain Personal Identification Information; (II)
      Modifying the Requirement to File a List of Equity Security Holders; (III) Approving the Form and Manner of the Notice of
      Commencement and (IV) Granting Related Relief filed contemporaneously herewith, the Debtor is requesting a waiver of the
     requirement under Bankruptcy Rule 1007 to file a list of all of its equity security holders.
2
     Cede & Co. is the nominee for 95.27% of the ownership interests of the Debtor. Figures listed include ownership interests held
     by Cede & Co. for the benefit of the referenced holders.
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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE SOUTHERN DISTRICT OF TEXAS
                                             HOUSTON DIVISION

  In re:                                                               Case No. 20-[        ]

  UNIT CORPORATION,                                                   (Chapter II)

                                                                      (Joint Administration Requested)
           Debtor.
               CORPORATE OWNERSHIP STATEMENT (RULES 1007(a)(1) AND 7007.1)

Pursuant to Federal Rules of Bankruptcy Procedure 1007(a)(1) and 7007.1, the following are corporations, other than the
debtor or a governmental unit, that directly or indirectly own 10% or more of any class of the corporations' equity interests:

                           Corporate Equity           Address of Corporate Equity          Percentage of
                              Holder(s)                        Holder(s)                   Equity Held'
                             Cede & Co.                    55 Water Street                   95.27%
                                                        New York, NY 10041

                           Black Rock, Inc.               55 East 52' Street                    14.28%
                                                         New York, NY 10055




                               FMR LLC                     245 Summer Street                    11.71%
                                                           Boston, MA 02210

                         The Vanguard Group               100 Vanguard Blvd.                    10.32%
                                                          Malvern, PA 19355




    Cede & Co. is the nominee for 95.27% of the ownership interests of the Debtor. Figures listed include ownership interests held
    by Cede & Co. for the benefit of the referenced holders.
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 Fill in this information to identify the case and this filing:


 Debtor Name
                Unit Corporation

 United States Bankruptcy Court for the:   Southern                District of   Texas
                                                                                 (State)
 Case number (Ifknown):




Official Farm 2n7
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                   12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

        I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


               Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)

               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

               Schedule H: Codebtors (Official Form 206H)

               Summary of Assets and Liabilities for Non-individuals (Official Form 206Sum)

               Amended Schedule


               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                                                             List of Equity Holders and Corporate Ownership Statement
               Other document that requires a declaration




        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on       05/22/2020                        X s/ Mark E. Schell
                          MM / DD / YYYY                        Signature of individual signing on behalf of debtor


                                                                Mark E. Schell
                                                                Printed name

                                                                  Senior Vice President, Secretary, and General Counsel
                                                                Position or relationship to debtor



Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                     Secretary's Certificate

      The undersigned, being the Corporate Secretary of Unit Corporation and each of its wholly
owned subsidiaries (collectively, the "Companies"), does hereby certify, on behalf of the
Companies and not in an individual capacity, as follows:

   1. I am the duly qualified and appointed Corporate Secretary of each of the Companies and,
      as such, am familiar with the facts herein certified, and I am duly authorized to certify the
      same on behalf of each of the Companies.

   2. Attached hereto as Annex A are true, correct, and complete copies of resolutions duly
      adopted by the board of directors of Unit Corporation on May 19, 2020.

   3. The above referenced resolutions have not been modified or rescinded, and are in full force
      and effect as of the date hereof.



                                   [Signature Page Follows]
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    IN WITNESS WHEREOF, the undersigned has executed and cause'          is certificate to be
delivered on behalf of the Companies as of the date first written bov

                                         Unit Corporation

                                         By:
                                         Name: Mark E. Schell
                                         Title: Senior Vice President, Corporate Secretary,
                                                and General Counsel




                                     Signature Page to
                                   Secretary's Certificate
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                           ANNEX A

 CHAPTER 11 RESOLUTIONS OF THE BOARDS OF DIRECTORS OF
                  UNIT CORPORATION
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                                   RESOLUTIONS OF
                              THE BOARD OF DIRECTORS OF
                                  UNIT CORPORATION

         WHEREAS, the Board of Directors (the "Board") of Unit Corporation, a Delaware
corporation (the "Company"), has studied and considered the financial condition of the Company
and its subsidiaries (the "Company Group"), including the Company Group's liabilities,
contractual obligations and liquidity, the short-term and long-term prospects available to the
Company Group, the strategic alternatives available to the Company Group and the related
circumstances and situation, including the current and reasonably foreseeable future conditions in
the oil and natural gas industry;

       WHEREAS, the Board has consulted with the Company's financial and legal advisors and
considered a variety of strategic alternatives available to the Company Group;

        WHEREAS, the Board has unanimously determined that it is advisable and in the best
interests of the Company to (i) pursue a pre-negotiated plan of reorganization of the Company (the
"Plan") pursuant to Chapter 11 of Title 11 of the United States Code (the "Bankruptcy Code") in
accordance with a Restructuring Support Agreement among (a) the Company, (b) the direct and
indirect subsidiaries of the Company that are party thereto (the "Filing Subsidiaries" and, together
with the Company, the "Debtors"), (c) the lenders under the Company's Senior Credit Agreement,
dated as of September 13, 2011, among the Company, the subsidiaries of the Company party
thereto, the lenders party thereto and BOKF, NA d/b/a Bank of Oklahoma, as administrative agent,
that are parties to the RSA (such credit agreement, the "RBL Credit Agreement," such lenders
under the RBL Credit Agreement, the "RBL Lenders" and the RBL Lenders party to the RSA, the
"Consenting RBL Lenders") and (d) the holders of the Company's 6.625% senior subordinated
notes due 2021 that are parties to the RSA (such agreement, together with the Restructuring Term
Sheet attached thereto, the "RSA") and (ii) file or cause to be filed a voluntary petition for relief
(the "Chapter 11 Petition") pursuant to Chapter 11 of the Bankruptcy Code in the United States
Bankruptcy Court for the Southern District of Texas, Houston Division, or another appropriate
court (the "U.S. Bankruptcy Court"), and any and all documents necessary or convenient to effect,
cause or promote the reorganization of the Debtors under Chapter 11 of the Bankruptcy Code,
pursuant to the Plan and in accordance with the RSA;

        WHEREAS, the Board has reviewed the RSA, which contemplates, among other things,
the consummation of a series of transactions (the "Restructuring Transactions") described therein
to restructure the Debtors' liabilities and capital structure under the Bankruptcy Code;

       WHEREAS, as contemplated by the RSA, (i) the Consenting RBL Lenders have agreed
to provide post-petition financing to the Company under a debtor-in-possession credit agreement
(the "DIP Facility"), on the terms and subject to the conditions set forth in a Super Priority Senior
Secured Debtor-in-Possession Credit Agreement (the "DIP Credit Agreement"), by and among
the Company, Unit Petroleum Company and Unit Drilling Company, as borrowers, the Consenting
RBL Lenders, as lenders, and the other lenders from time to time party thereto (the Consenting
RBL Lenders and any other lenders from time to time party thereto, collectively, the "DIP
Lenders"), and (ii) following the consummation of the Restructuring Transactions, all of the claims
under the DIP Facility will be converted on a dollar-for-dollar basis into borrowings under a new


US 7037835
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exit credit facility with the reorganized Company, reorganized Unit Drilling Company, and
reorganized Unit Petroleum Company;

        WHEREAS, the Debtors will obtain benefits from the use of collateral, including cash
collateral, as that term is defined in section 363(a) of the Bankruptcy Code (the "Cash Collateral"),
which is security for the claims held by the RBL Lenders;

       WHEREAS, the board of directors or managers, as applicable, of each of the Filing
Subsidiaries intend to authorize, concurrently with the Company, the filing with the U.S.
Bankruptcy Court of voluntary petitions for relief pursuant to Chapter 11 of the Bankruptcy Code;
and

        WHEREAS, after review of (i) the financial condition of the Company Group, the current
and reasonably foreseeable future conditions in the oil and natural gas industry, the outlook for the
Company Group's business and the other alternatives available to the Company Group, (ii) the
terms of the RSA and related documentation, (iii) the availability of the DIP Facility and
consensual use of the Cash Collateral and (iv) such other considerations as the Board deems
relevant, the Board, following consultation with the financial and legal advisors to the Company,
has determined that it is advisable and in the best interests of the Company to enter into the RSA
and pursue the restructuring of the Debtors under the Bankruptcy Code as contemplated therein
and as approved in these resolutions.

Restructurine Support Azreement

       NOW, THEREFORE, BE IT RESOLVED, that the Board hereby authorizes and
approves, in all respects, the Company's entry into the RSA, together with any other agreements
or documentation relating thereto (collectively, the "Restructuring Support Documents"), and the
performance of its obligations thereunder;

        FURTHER RESOLVED, that the Board hereby authorizes and empowers each of the
Company's President and Chief Executive Officer; Senior Vice President, General Counsel and
Corporate Secretary; Senior Vice President and Chief Financial Officer; and any Vice President
of the Company (collectively, the "Authorized Officers") to take such actions and negotiate or
cause to be prepared and negotiated and to execute, file, and deliver the Restructuring Support
Documents, with such changes, additions, and modifications thereto as the Authorized Officer
executing the same shall approve, such approval to be conclusively evidenced by such Authorized
Officer's execution or delivery thereof, cause the Company to perform its obligations under the
Restructuring Support Documents, or any amendments or modifications thereto that may be
contemplated by, or required in connection with, the Restructuring Transactions or the Chapter 11
case pursuant to the Bankruptcy Code (the "Chapter 11 Case"), and incur and pay or cause to be
paid all fees and expenses and engage such persons, in each case, as any such Authorized Officer
shall in his or her judgment determine to be necessary or appropriate to consummate the
Restructuring Transactions, which determination shall be conclusively evidenced by such
Authorized Officer's execution or delivery thereof;




                                                 2
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Chapter 11 Filing

        FURTHER RESOLVED, that the Board hereby determines that it is advisable and in the
best interests of the Company to file the Chapter 11 Petition pursuant to Chapter 11 of the
Bankruptcy Code with the U.S. Bankruptcy Court;

        FURTHER RESOLVED, that the Board hereby authorizes the Company to file or cause
to be filed the Chapter 11 Petition pursuant to Chapter 11 of the Bankruptcy Code with the U.S.
Bankruptcy Court;

       FURTHER RESOLVED, that Board hereby authorizes and empowers each Authorized
Officer to execute, deliver, and file or cause to be filed with the U.S. Bankruptcy Court on behalf
of the Company, the Chapter 11 Petition, in such form as prescribed by the official forms
promulgated pursuant to the Bankruptcy Code;

        FURTHER RESOLVED, that the Board hereby authorizes and empowers each
Authorized Officer to execute, deliver, and file or cause to be filed with the U.S. Bankruptcy Court
all papers, motions, applications, schedules, and pleadings necessary, appropriate, or convenient
to facilitate the Chapter 11 Case and all of its matters and proceedings, and any and all other
documents necessary, appropriate, or convenient in connection with the commencement or
prosecution of the Chapter 11 Case, each in such form or forms as the Authorized Officer may
approve;

        FURTHER RESOLVED, that the Board hereby authorizes and empowers each
Authorized Officer to execute, deliver and file or cause to be filed with the U.S. Bankruptcy Court
all papers and pleadings that such Authorized Officer believes to be necessary or advisable to
effect, cause or further the reorganization of the Company under Chapter 11 of the Bankruptcy
Code and any and all other documents necessary to effectuate the Plan related thereto, together
with any amendments or modifications thereto, or any restatements thereof, in each case, as any
Authorized Officer may approve;

         FURTHER RESOLVED, that the Board hereby authorizes each of the Filing Subsidiaries
to file or cause to be filed with the U.S. Bankruptcy Court, a voluntary petition for relief pursuant
to Chapter 11 of the Bankruptcy Code, consistent with these resolutions, and such subsidiaries of
the Company and the board of directors or managers, as applicable, of such subsidiaries are
authorized and empowered to take such actions as are necessary to accomplish the same consistent
with these resolutions;

       Debtor-in-Possession FinancinE, Cash Collateral and Adequate Protection

        FURTHER RESOLVED, that the Board hereby determines that the Company will obtain
benefits from the loans and other financial accommodations under the DIP Credit Agreement and
the consummation of the Financing Transactions under the DIP Credit Agreement and the other
DIP Loan Documents, as defined below, which are necessary and appropriate to the conduct,
promotion and attainment of the business of the Company;

      FURTHER RESOLVED, that the Board hereby authorizes and approves, in all respects,
the Company's entry into the DIP Credit Agreement, together with any other agreements or


                                                 3
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documentation relating thereto (collectively, the "DIP Loan Documents"), and the performance
of its obligations thereunder;

       FURTHER RESOLVED, that the Board hereby authorizes and empowers each
Authorized Officer to take such actions and negotiate or cause to be prepared and negotiated and
to execute, file and deliver the DIP Loan Documents, with such changes, additions and
modifications thereto as any Authorized Officer executing the same shall approve, such approval
to be conclusively evidenced by such Authorized Officer's execution or delivery thereof, cause
the Company to perform its obligations under the DIP Loan Documents, or any amendments or
modifications thereto that may be contemplated by, or required in connection with, the
Restructuring Transactions or the Chapter 11 Case, and incur and pay or cause to be paid all fees
and expenses and engage such persons, in each case, as any such Authorized Officer shall in his
or her judgment determine to be necessary or appropriate to consummate the Restructuring
Transactions, which determination shall be conclusively evidenced by such Authorized Officer's
execution or delivery thereof;

        FURTHER RESOLVED, that the Board hereby authorizes the Company to: (i) undertake
any and all transactions contemplated by the DIP Loan Documents, on substantially the terms and
subject to the conditions set forth in the DIP Loan Documents or as may hereafter be fixed or
authorized by the Board or any Authorized Officer; (ii) borrow funds from, provide guaranties to,
pledge its assets as collateral to and undertake any and all related transactions contemplated
thereby (collectively, the "Financing Transactions" and each such transaction a "Financing
Transaction") with the DIP Lenders and on such terms as may be approved by any Authorized
Officer, as reasonably necessary or appropriate for the continuing conduct of the affairs of the
Company; (iii) execute and deliver and cause the Company to incur and perform its obligations
under the DIP Loan Documents and Financing Transactions; (iv) finalize the DIP Loan Documents
and Financing Transactions, consistent in all material respects with the drafts thereof that have
been presented to and reviewed by the Board; and (v) pay related fees and grant security interests
in and liens upon some, any or all of the Company's assets, as may be deemed necessary by any
Authorized Officer in connection with such Financing Transactions;

        FURTHER RESOLVED, that the Board hereby authorizes and empowers each
Authorized Officer to take such actions and negotiate or cause to be prepared and negotiated and
to execute, file, deliver and cause the Company to incur and perform its obligations under the DIP
Loan Documents, any hedging agreements, any secured cash management agreements, and all
other agreements, instruments and documents (including, without limitation, any and all other
intercreditor agreements, joinders, mortgages, deeds of trust, consents, notes, pledge agreements,
security agreements, control agreements, interest rate swaps, caps, collars or similar hedging
agreements and any agreements with any entity (including governmental authorities) requiring or
receiving cash collateral or other credit support with proceeds from the DIP Credit Agreement) or
any amendments thereto or waivers thereunder (including, without limitation, any amendments,
waivers or other modifications of any of the DIP Loan Documents) that may be contemplated by,
or required in connection with, the DIP Credit Agreement, the other DIP Loan Documents and the
Financing Transactions, and incur and pay or cause to be paid all fees and expenses and engage
such persons, in each case, as such Authorized Officer shall in his or her judgment determine to
be necessary or appropriate to consummate the transactions contemplated by the DIP Credit
Agreement and the other DIP Loan Documents, which determination shall be conclusively


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evidenced by such Authorized Officer's execution or delivery thereof;

        FURTHER RESOLVED, that the Board hereby authorizes and empowers each
Authorized Officer to authorize the DIP Lenders to file any UCC financing statements, mortgages,
notices, and any necessary assignments for security or other documents in the name of the
Company that the DIP Lenders deem necessary or appropriate to perfect any lien or security
interest granted under the DIP Loan Documents, including any such -MC financing statement
containing a generic description of collateral, such as "all assets," "all property now or hereafter
acquired" and other similar descriptions of like import, and to execute and deliver, and to record
or authorize the recording of, such mortgages and deeds of trust in respect of real property of the
Company and such other filings in respect of intellectual and other property of the Company, in
each case as the DIP Lenders may reasonably request to perfect the security interests granted under
the DIP Loan Documents;

        FURTHER RESOLVED, that the Board hereby authorizes and empowers each
Authorized Officer to execute and deliver any amendments, supplements, modifications, renewals,
replacements, consolidations, substitutions and extensions of the DIP Credit Agreement or any of
the other DIP Loan Documents or any of the other DIP financing documents, and to execute and
file on behalf of the Company all petitions, schedules, lists and other motions, papers or
documents, which shall in his or her sole judgment be necessary, proper or advisable, which
determination shall be conclusively evidenced by such Authorized Officer's execution or delivery
thereof;

        FURTHER RESOLVED, that in order to use and obtain the benefits of the Cash
Collateral, and in accordance with section 363 of the Bankruptcy Code, the Board hereby
authorizes the Company to provide certain adequate protection to the Consenting RBL Lenders
(the "Adequate Protection Obligations"), as documented in a proposed interim order (any such
order, the "Interim DIP Order") and a proposed final order (any such order, the "Final DIP
Order," and together with the Interim DIP Order, the "DIP Orders") described to the Board and
submitted for approval to the U.S. Bankruptcy Court;

        FURTHER RESOLVED, that the Board hereby approves the form, terms, and provisions
of the DIP Orders to which the Company is or will be subject, and the actions and transactions
contemplated thereby and authorizes and empowers each Authorized Officer to take such actions
and negotiate, or cause to be prepared and negotiated, and to execute, deliver, perform, and cause
the performance of, the DIP Orders and the DIP Loan Documents (together with the DIP Orders,
collectively, the "DIP Documents"), incur and pay or cause to be paid all fees and expenses and
engage such persons, in each case, on substantially the terms and subject to the conditions
described to the Board, with such changes, additions, and modifications thereto as the Authorized
Officer executing the same shall approve, such approval to be conclusively evidenced by such
Authorized Officer's execution or delivery thereof;

        FURTHER RESOLVED, that the Board hereby authorizes the Company, as a debtor and
debtor-in-possession under the Bankruptcy Code, to incur the Adequate Protection Obligations
and to undertake any and all related transactions on substantially the same terms as contemplated
under the DIP Documents (collectively, the "Adequate Protection Transactions");



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        FURTHER RESOLVED, that the Board hereby authorizes and empowers each
Authorized Officer to take such actions as in their discretion is determined to be necessary,
appropriate, or advisable and execute the Adequate Protection Transactions, including delivery of:
(i) the DIP Documents and such agreements, certificates, instruments, guaranties, notices, and any
and all other documents, including, without limitation, any amendments to any DIP Documents
(collectively, the "Adequate Protection Documents"); (ii) such other instruments, certificates,
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Lenders; and (iii) such forms of deposit, account control agreements, officer's certificates, and
compliance certificates as may be required by the DIP Documents or any other Adequate
Protection Documents;

        FURTHER RESOLVED, that the Board hereby authorizes and empowers each
Authorized Officer to take all such further actions, including, without limitation, to pay or approve
the payment of all fees and expenses payable in connection with the Adequate Protection
Transactions and all fees and expenses incurred by or on behalf of the Company in connection
with these resolutions, in accordance with the terms of the Adequate Protection Documents, which
shall in his or her sole judgment be necessary, appropriate, or advisable to perform any of the
Company's obligations under or in connection with the DIP Orders or any of the other Adequate
Protection Documents and the transactions contemplated thereby and to carry out fully the intent
of these resolutions;

       Retention of Professionals

        FURTHER RESOLVED, that the Board hereby approves the Company's engagement of
Vinson & Elkins L.L.P. ("V&E") as general bankruptcy counsel to represent and assist the
Company in carrying out its duties under the Bankruptcy Code in the U.S. Bankruptcy Court, and
to take any and all actions to advance the Company's rights and obligations, including filings and
pleadings, and each Authorized Officer is hereby authorized and empowered to take such actions
as may be required to so engage V&E for such purposes; and in connection therewith, each
Authorized Officer, with power of delegation, is hereby authorized and empowered to execute
appropriate retention agreements, pay appropriate retainers to, and cause to be filed an appropriate
application for authority to retain the services of V&E;

        FURTHER RESOLVED, that the Board hereby approves the Company's engagement of
Evercore Group L.L.C. ("Evercore") as investment banker to represent and assist the Company in
carrying out its duties under the Bankruptcy Code in the U.S. Bankruptcy Court, and to take any
and all actions to advance the Company's rights and obligations, and each Authorized Officer is
hereby authorized and empowered to take such actions as may be required to so engage Evercore
for such purposes; and in connection therewith, each Authorized Officer, with power of delegation,
is hereby authorized and empowered to execute appropriate retention agreements, pay appropriate
retainers to, and cause to be filed an appropriate application for authority to retain the services of
Evercore;

        FURTHER RESOLVED, that the Board hereby approves the Company's engagement of
Opportune LLP ("Opportune") as operational advisor to represent and assist the Company in
carrying out its duties under the Bankruptcy Code in the U.S. Bankruptcy Court, and to take any
and all actions to advance the Company's rights and obligations, and each Authorized Officer is


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hereby authorized and empowered to take such actions as may be required to so engage Opportune
for such purposes; and in connection therewith, each Authorized Officer, with power of delegation,
is hereby authorized and empowered to execute appropriate retention agreements, pay appropriate
retainers to, and cause to be filed an appropriate application for authority to retain the services of
Opportune;

        FURTHER RESOLVED, that the Board hereby approves the Company's engagement of
Grant Thornton LLP ("Grant Thornton") as accountants and tax advisors to represent and assist
the Company in carrying out its duties under the Bankruptcy Code in the U.S. Bankruptcy Court,
and to take any and all actions to advance the Company's rights and obligations, and each
Authorized Officer is hereby authorized and empowered to take such actions as may be required
to so engage Grant Thornton for such purposes; and in connection therewith, each Authorized
Officer, with power of delegation, is hereby authorized and empowered to execute appropriate
retention agreements, pay appropriate retainers to, and cause to be filed an appropriate application
for authority to retain the services of Grant Thornton;

       FURTHER RESOLVED, that the Board hereby approves the Company's engagement of
Prime Clerk, LLC ("Prime Clerk") as notice, claims and solicitation agent to represent and assist
the Company in carrying out its duties under the Bankruptcy Code in the U.S. Bankruptcy Court,
and to take any and all actions to advance the Company's rights and obligations, is hereby
approved, and each Authorized Officer is hereby authorized and empowered to take such actions
as may be required to so engage Prime Clerk for such purposes; and in connection therewith, each
Authorized Officer, with power of delegation, is hereby authorized and empowered to execute
appropriate retention agreements, pay appropriate retainers to, and cause to be filed an appropriate
application for authority to retain the services of Prime Clerk;

        FURTHER RESOLVED, that the Board hereby authorizes and empowers each
Authorized Officer to employ any other professionals to assist the Company in carrying out its
duties under the Bankruptcy Code; and in connection therewith, each Authorized Officer, with
power of delegation, is hereby authorized and empowered to execute appropriate retention
agreements, pay appropriate retainers and fees, and to cause to be filed an appropriate application
for authority to retain the services of any other professionals as necessary;

General

        FURTHER RESOLVED, that the Board hereby authorizes and empowers each
Authorized Officer, on behalf of the Company, to certify and attest to any documents that he or
she may deem necessary, appropriate, or convenient to consummate any transactions necessary to
effectuate the foregoing resolutions; provided, such attestation shall not be required for the validity
of any such documents; and

       FURTHER RESOLVED, that all actions heretofore taken by any officer, employee or
representative of the Company in its name or for its account in connection with any of the above
matters are hereby in all respects ratified, confirmed and approved.

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